        Case 3:95-cr-03089-RV       Document 1247     Filed 03/26/09      Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
UNITED STATES OF AMERICA

         VS                                                 CASE NO. 3:95cr03089-30/RV

JEFFERY JEROME TOLER

                                REFERRAL AND ORDER

Referred to Senior Judge Roger Vinson on March 19, 2009
Motion/Pleadings: MOTION to Reduce Sentence (re Retroactive Application of Sentencing
Guidelines to Crack Cocaine Offense 18 USC 3582)
Filed by Defendant                       on 05/05/2008       Doc.#       1212
RESPONSES:
      None                               on                  Doc.#
                                         on                  Doc.#
        Stipulated           Joint Pldg.
        Unopposed            Consented
                                         WILLIAM M. McCOOL, CLERK OF COURT

                                            s/Jerry Marbut
LC (1 OR 2)                               Deputy Clerk: Jerry Marbut

                                       ORDER
Upon     consideration   of   the   foregoing,   it   is   ORDERED     this   26th   day   of
       March             , 2009, that:
(a)      The requested relief is DENIED.
(b)      The Defendant is not eligible for a sentence reduction under
         Amendments 706 and 711.
(c)      The amendments do not affect the Defendant’s sentencing guideline
         range.


                                           /s/   Roger Vinson
                                                          ROGER VINSON
                                              Senior United States District Judge
